Case 5:18-cr-00258-EJD Document 1655-3 Filed 11/19/22 Page 1 of 3




                 Exhibit X
 (PREVIOUSLY FILED UNDER SEAL)
            Case 5:18-cr-00258-EJD Document 1655-3 Filed 11/19/22 Page 2 of 3
                                                       Confidential
Wade Miquelon                                                                   In re Arizona Theranos, Inc. Litigation
                                                         Page 1                                                           Page 2
·1· · · · · · ·IN THE UNITED STATES DISTRICT COURT                ·1· · · · · · · ·Videotaped deposition of WADE MIQUELON,
·2· · · · · · · · · FOR THE DISTRICT OF ARIZONA                   ·2· ·taken at the offices of Sidley Austin LLP,
·3· · ·IN RE:· · · · · · · · · · · )                              ·3· ·One South Dearborn Street, Chicago, Illinois,
·4· · · · · · · · · · · · · · · · ·)· Civil Action No.            ·4· ·Before Sheri E. Liss, IL-CSR, RPR, and
·5· · ·THERANOS INC.,· · · · · · · )· No. 2:16-cv-2138-HRH        ·5· ·CRR, commencing at the hour of 9:08 a.m. on
·6· · ·LITIGATION,· · · · · · · · ·)                              ·6· ·Friday, August 9, 2019
·7                                                                ·7
·8
                                                                  ·8
·9· · · · · · · · · · ·*** CONFIDENTIAL ***
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                                                                  10
11· · · · · · VIDEOTAPED DEPOSITION OF WADE MIQUELON
                                                                  11
12· · · · · · · · · · · · August 9, 2019
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13· · · · · · · · · · · Chicago, Illinois
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23· ·REPORTED BY:                                                 22

· · ·Sheri E. Liss,                                               23

24· ·CSR, RPR, CRR, CLR                                           24

25· ·JOB NO. 10057960                                             25


                                                         Page 3                                                           Page 4
·1· ·APPEARANCES:                                                 ·1· ·APPEARANCES (continued):
·2                                                                ·2· ·ON BEHALF OF ELIZABETH HOLMES:
·3· ·ON BEHALF OF THE CONSUMER PLAINTIFFS:                        ·3· · · · COOLEY LLP
·4· · · · · · ·LIEFF CABRASER HEIMANN & BERNSTEIN, LLP            ·4· · · · BY: JEFF LOMBARD, ESQ. (Via teleconference)
·5· · · · · · ·BY:· MELISSA GARDNER, ESQ.                         ·5· · · · · · ·jlombard@cooley.com
·6· · · · · · · · · mgardner@lchb.com                             ·6· · · · · · ·206.452.8796
·7· · · · · · · · · 415.956.1000                                  ·7· · · · · · ·1700 Seventh Avenue, Suite 1900
·8· · · · · · ·275 Battery Street, 29th Floor                     ·8· · · · · · ·Seattle, Washington 98101-1355
·9· · · · · · ·San Francisco, CA 94111                            ·9· ·ON BEHALF OF THE WITNESS:
10· ·ON BEHALF OF WALGREENS:                                      10· · · · LAURENCE H. LEVINE LAW OFFICES
11· · · · ·SIDLEY AUSTIN LLP                                      11· · · · BY: LAURENCE H. LEVINE, ESQ.
12· · · · ·BY: KRISTEN R. SEEGER, ESQ.                            12· · · · · · ·laurence.levine@lhlevine.com
13· · · · · · ·kseeger@sidley.com                                 13· · · · · · ·312.927.0625
14· · · · · · ·312.853.7450                                       14· · · · · · ·189 East Lake Shore Drive, 16th Floor
15· · · · · · ·One South Dearborn Street                          15· · · · · · ·Chicago, IL 60611
16· · · · · · ·Chicago, Illinois 60603                            16
17· ·ON BEHALF OF SUNNY BALWANI:                                  17
18· · · · DAVIS WRIGHT TREMAINE LLP                               18· ·ALSO PRESENT:
19· · · · BY:· RENEE M. HOWARD, ESQ.                              19· · · · SLAWOMIR KOJRO, videographer
20· · · · · · ·reneehoward@dwt.com                                20
21· · · · · · ·206.622.3150                                       21
22· · · · · · ·920 Fifth Avenue, Suite 3300                       22
23· · · · · · ·Seattle, WA 98104-1610                             23
24                                                                24
25                                                                25



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            Case 5:18-cr-00258-EJD Document 1655-3 Filed 11/19/22 Page 3 of 3
                                                        Confidential
Wade Miquelon                                                                   In re Arizona Theranos, Inc. Litigation
                                                       Page 237                                                       Page 238
·1· ·Foundation.                                                  ·1· ·puncture by their very nature but over time this
·2· ·BY THE WITNESS:                                              ·2· ·should be very, very small.
·3· · · · A.· · ·I don't recall.                                  ·3· · · · Q.· · ·And what was your understanding about
·4· ·BY MS. HOWARD:                                               ·4· ·how those tests that required venous puncture would
·5· · · · Q.· · ·Did you have any understanding of how            ·5· ·be analyzed?
·6· ·Theranos when it was partnering with Walgreens was           ·6· · · · A.· · ·My understanding is the ones that
·7· ·addressing throughput issues as you were rolling out         ·7· ·required venous puncture would be done on a
·8· ·more and more testing locations?                             ·8· ·traditional lab test machine or perhaps outsourced
·9· · · · · · · ·MR. LEVINE:· Objection.· Foundation.             ·9· ·to a lab.· They would not be run on the Edison.
10· ·BY THE WITNESS:                                              10· · · · · · · ·MS. HOWARD:· I don't have any further
11· · · · A.· · ·I was not involved in that.                      11· ·questions.· Thank you.
12· ·BY MS. HOWARD:                                               12· · · · · · · ·MR. LEVINE:· None here.
13· · · · Q.· · ·Did you have any understanding as to             13· · · · · · · ·MS. SEEGER:· We'll reserve signature.
14· ·whether Theranos was using commercial testing                14· · · · · · · ·MS. GARDNER:· Plaintiffs object to three
15· ·equipment?                                                   15· ·exhibits that don't have Bates numbers for this
16· · · · A.· · ·I had a limited understanding.                   16· ·litigation, and request that Balwani's counsel
17· · · · Q.· · ·And what was your understanding?                 17· ·substitute and produce copies or meet an confer
18· · · · A.· · ·My understanding was that two things,            18· ·about the issue.
19· ·one is that they had some commercial equipment which         19· · · · · · · ·MS. HOWARD:· For clarity, those are
20· ·was used to be able to do, again, I don't know if            20· ·Exhibit Nos. 285, 286 and 289; is that correct?
21· ·calibration is the right word, but this back and             21· · · · · · · ·MS. GARDNER:· Yes, that is correct.
22· ·forth checking of traditional equipment versus               22· · · · · · · ·THE VIDEOGRAPHER:· This concludes the
23· ·Theranos equipment.· And I also recall that Sunny            23· ·deposition.· The time is 4:38.· Off the record.
24· ·and Elizabeth saying that when we started up that            24· · · · · · · · · · · · ·(Whereupon, the proceedings
25· ·there might always be some tests that require venous         25· · · · · · · · · · · · ·were concluded.)

                                                       Page 239                                                       Page 240
·1· ·STATE OF ILLINOIS· )                                         ·1· · · · · · ·I further certify that I am not counsel
·2· · · · · · · · · · · ) SS:                                     ·2· ·for nor in any way related to any of the parties to
·3· ·COUNTY OF C O O K· )                                         ·3· ·this suit, nor am I in any way interested in the
·4· · · · · · ·I, SHERI E. LISS, CSR NO. 084-002600, a            ·4· ·outcome thereof.
·5· ·Certified Shorthand Reporter within and for the              ·5· · · · · · ·I further certify that this certificate
·6· ·State of Illinois, Registered Professional Reporter,         ·6· ·applies to the original signed and certified
·7· ·Certified Realtime Reporter, do hereby certify that          ·7· ·transcripts only.· I assume no responsibility for
·8· ·previous to the commencement of the examination,
                                                                  ·8· ·the accuracy of any reproduced copies not made under
·9· ·said witness was duly sworn by me to testify; that
                                                                  ·9· ·my control or direction.
10· ·the said deposition was taken at the time and place
                                                                  10· · · · · · ·IN TESTIMONY WHEREOF I have hereunto set
11· ·aforesaid; that the testimony given by said witness
                                                                  11· ·my hand this 19th day of August, 2019.
12· ·was reduced to writing by means of shorthand and
                                                                  12
13· ·thereafter transcribed into typewritten form; and
                                                                  14
14· ·that the foregoing is a true, correct and complete
                                                                  15
15· ·transcript of my shorthand notes so taken as
                                                                  16
16· ·aforesaid.
                                                                  17
17· · · · · · ·I further certify that there were present
                                                                  18
18· ·at the taking of the said deposition the persons and
                                                                  19· · · · · · · · · · · Sheri E. Liss, CSR, RPR, CRR, CLR
19· ·parties as indicated on the appearance page made a
                                                                  20
20· ·part of this deposition.
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